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                  EXHIBIT A




                  EXHIBIT A
           Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 2 of 26
                     -^s        ••    ue                        -V "
                                                        4




           1 SUM114
             SCOTT OLIFANT, ESQ.
             Nevada Bar No.: 7471
       2 • TCM LAW
             1614 S. Maryland Pkwy.
       3 Las Vegas, NV 89104
             Telephone: (702) 462-6161
       4 Facsimile:       (702) 413-6255
             EmailtiptoOtta*      up.corn
       5 Aiton/ePAP.Okiiii,
                •
       6
                                                   DISTRICT COURT
       7
                                             CLARK COUNTY, NEVADA
       8
             JENNA L. CARNEY, an individual;                           Case No.: A-17-761858-C
       9                                                               Dept. No.: II
                              Plaintiff,
    10
 y, 11              vs.

a;, 12      IQ DATA EiTERNATIONAL,, a Washington
            Corporation; SENTRY RECOVERY &
 :*• 13     COLLECTIONS, INC. a Nevada Corporation;
 ''14       MG PROPERTIES GROUP, a corporation of
            unknown place of incorporation, d/b/a Sedona
              110."              :11*~-42aMVI)
                                     " '4        *6 Ye' CI'
   16          A Nevada Corporation, d/b/a Glenbrook Terrace;
             F ANZA MANAGEMENT COMPANY, a
   17          California Corporation, PICERNNE REAL
   18          ESTATE GROUP, a privately held' corporation
               of unknown state of incorporation d/b/a
   19          Pavillions at Providence Apartments, SW
               LANDLORDS, a business entity of unknown
   20      .s form, THE CROSSINGS AT LAKE MEAD, an
              apartment complex of unknown form or identity
   21         of ownership, and DOES 1 THROUGH 10 AND:
                                                                                   114




   22         ROE CORPORATIONS 11. THROUGH 20,
              INCLUSIVE.
   23
                             Defendants,
   24
   25                                                  SUMMONS.
                                                                                                 •

  26       NOTICE! YOU MAY HAVE BEEN SUED, THE COURT MAY DECIDE AGAINST YOU
           WITHOUT YOUR BEING HEARD UNLESS YOU RESPOND ,WITHfist 20 DAYS. READ
  27       THE INFORMATION BELOW.
  28

                                                            I
                                            Case Number: A-17-781858-C
             Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 3 of 26




         1 ;, TO THE DEFENDANT, IQ DATA INTERNATIONAL: A civil Complaint has been filed by the
         2 Plaintiff(s) against you for the relief set forth in the Complaint.

         3            1. If you intend to defend this lawsuit, within 20 days after this summons is served on you,
             • exclusive of the day of service, you must do the following:
         4
                       A. File with the Clerk of this Court, whose address is shown below, a formal written
         5             response to the Complaint in accordance with the rules of the Court, with the appropriate
                       filing fee.
                       B. Serve a copy of your response upon the attorney whose name and address is shown
         7             below.

         8          2. Unless you respond, your default will be entered upon application of the Plaintiff(s) and
            this Court may enter a judgment against you for the relief demanded in the Complaint, which could
         93
            result in the taking of money or property or other)relief requested in the Complaint.
     10
                          3. If you intend to seek the advice of an attorney in this matter, you should do so promptly so
        11 x, that your response may be filed on time.              ..                                 •
             .1:
...§;7- 12 ,              4. The State of Nevada, its political subdivision, agencies, officers, employees, board
                 members, commission members and legislators, each have 45 days after service of this Summons
        13 : ;.
                 within which to file an answer or other responsive pleading to the Complaint.
                                                                            .i•;..r.:, K .
        14 1                                                             . : ''''-'•.,    4
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                     4... •-.....,.       , -   4 ' '     .41-...-
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     17            TT OLIFANT, SS
      Q       Nevada Bar No. 747i                                 Ii7eSitip:aalgice Center
              1614 S. Maryland Pkwy.
              Las Vegas, NV 89104                                 200 Lewis Avenue            Shimaya Ladson
     19                                                           Las Vegas, NV 89155
              Telephone: (702) 462-6161
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              Attorneys for Plaintiff
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            Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 4 of 26

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             COMP
             THOMAS C. MICHAELIDES, ESQ.
             Nevada Bar No.: 5425
        2    CONSTANTINA V. RENTZIOS, ESQ,
             Nevada Bar No. 13747
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             EmaAt           imoup.coin
        6   11041
        7
                                                    DISTRICT COURT
      8
                                               CLARK COUNTY, NEVADA
        9
             JEIINA L. CARNEY, an individual;                         Case No.: A-17-761858-C
     10                                                               Dept. No.: Department 2
                               Plaintiff,
     11
 3.? 12             vs.

   •• 13    IQ DATA INTERNATIONAL, a Washington
            corporation; SENTRY   RECOVERY    &
    -14     COLLECTIONS, INC., and; DOES I-X and
            ROE CORPORATIONS XI through XX,
            inclusive,
-1g- 16                       Defendants.
     17
                                                      COMPLAINT
    18"
    19'            COMES NOW, Plaintiff, by and through their counsel of record, Constantin V. Rentzios,

    20      Esq. of TCM Law and for their causes of action, allege as follows:

    21                                         ,GENERAL. PROVISIONS
    22             1.     Plaintiff, JENNA L. CARNEY, at all times relevant hereto, was and is a resident of
    23
            the State of Texas, who has been the subject of numerous thefts of identity by persons unknown but
    24
            located in Clark County, Nevada.
    25
    26
    27
   28

                                                           I.

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                         Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 5 of 26

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                                     2.      Defendant, IQ DATA INTERNATIONAL, INC., at all times relevant hereto, a
                   1
                          business incorporated in the State of Washington, and conducting business in the State of Nevada,

                          within Clark County.

                   4                 3.   Defendant, SENTRY RECOVERY & COLLECTIONS, INC., at all times relevant
                  5       hereto, a business incorporated in the State of Nevada, and conducting business in Clark County.
                  6
                                     4.   The true names or capacities, whether individual, corporate, associate, or otherwise,
                 7
                          of Defendants named herein as DOES I through X and ROE CORPORATIONS XI through XX, are
                 8
                          unknown to Plaintiff, who therefore sues said Defendants by such fictitious names; Plaintiff is
                 9

                10        informed and believes and therein alleges, that each of the Defendants designated herein as DOE

                11        and ROE are responsible in some manner for the events and happenings referred to, and caused

           .. ;r;12 damages proximately to Plaintiff, and Plaintiff will ask leave of the Court to amend the Cothplaint

                43        to   insert the true names and capacities of DOES I through X and ROE CORPORATIONS XI
                14
                       , through XX, inclusive, when the same have been ascertained, and to join such Defendants in this
     (a)        15
            g             action.
                16
                17                                                  PI3ISDICTION

                18                  5.    Plaintiff repeats and realleges each and every allegation contained in the foregoing

                19       paragraphs as though fully set forth herein.
                20                  6.    That the foregoing causes of action are related to activities, communications and
                21
                        • contracts performed within Clark County, Nevada and that Defendants are residents/business entities
                22
                       • in., Nevada.
                23
                                    7.    This Court has subject matter jurisdiction over this proceeding and venue of this
              24
              25         action is proper.

              26                                            9g,NERAL ALLEGATIONS.
              27                                                     Introduction
             28

                                                                         2
           Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 6 of 26




                   8.      Plaintiff repeats and realleges each and every allegation contained in the foregoing

      2 . paragraphs as though fully set forth herein.

      3f           9.      The computerization of our society has resulted in a revolutionary increase in the

            accumulation and processing of data concerning individual American citizens. Data technology,

            whether it is used by businesses, banks, the Internal Revenue Service or other institutions, allows
      6
            information concerning individual consumers to flow instantaneously to requesting parties. Such

            timely information is intended to lead to faster and better decision-making by its recipients, and all
      8
            of society should ultimately benefit from the resulting convenience and efficiency.
      9

  10               10.     Unfortunately, however, this information has also become readily available for, and

            subject to, mishandling, misuse, theft or other nefarious conduct. Individual consumers can sustain

            substantial damage both emotionally and economically, whenever inaccurate or fraudulent

            information is disseminated and/or obtained about them.

                   11.     The ongoing technological advances in the area of data processing have resulted in a

            boon for the companies that accumulate and sell data concerning individuals' credit histories and

           .$ other personal information. Such companies are commonly known as consumer reporting agencies

• 18        ("CRAs").

  19               12.    These CRAs sell to readily paying subscribers (i.e., retailers, landlords, lenders,
 20        potential employers and similar interested parties) information, commonly called "consumer
 21
           reports," concerning individuals who may be applying for retail credit, for the lease of an apartment,
 22
           for a car or mortgage loan, for employment or the like.
 23
                                              Thefisair Credit       rtkiinkAtt
 24

 25               13.     Since 1970, when Congress enacted the Fair Credit Reporting Act, 15 U.S C. § 1681

 26        et seq. ("FCRA"), federal law has required CRAs to implement and utilize reasonable procedures "to

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                     Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 7 of 26




                      assure maximum possible accuracy" of the personal, private and financial information that they
                ii

                2     compile and sell about individual consumers.

                3            14.     The preservation of one's good name is also at the heart of the FCRA's purposeR

                             [W]ith the trend toward computerization of billings and the establishment of all
                             sorts of computerized data banks, the individual is in great danger of having his
                             life and character reduced to impersonal "blips" and key-punch holes in a stolid
                             and unthinking machine which can literally ruin his reputation without cause, and
                             make him unemployable or uninsurable, as well as deny him the opportunity to
                             obtain a mortgage to buy a. home. We are not nearly as much concerned over the
                             possible mistaken turn-down of a consumer for a luxury item as we are over the
                8            possible destruction of his good name without his knowledge and without reason.
                             * * /4/s Shakespeare said the loss of one's good name is beyond price and
                9
                             makes one poor indeed (emphasis added).
                                                                          c
            10
                     Bryant v. TRW, Inc., 689 F.2d 72, 79 (6th Cir. 1982) [quoting 116 Cong. Rec. 36570 (1970)].:
         ri 11
                             15.     To further the primary goal of greater accuracy, the FCRA has also required CRAs, as
       g'41' 12
      11P-           well as "furnishers" of credit information to the CRAs, to conduct "reasonable investigations" into
             13
            14       bona Ede disputes sent to CRAs by consumers claiming to have inaccurate or incomplete
t.)
E-4                  information appearing in their credit files, to correct or update any such errors or omissions, and to
            15
      ".. g• 16      report back to the consumer the results of the investigation.
            17
                                             The Fair Debt Collection Practices Act f"FDCPA"
            18
                             16.    In 1977, Congress passed the FDCPA, 15 U.S.C. §§ 1692-1692p, which became
            19
                     effective on March 20, 1978, and has been in force since that date. Among the several possible
           20
                     violations that CRAs may incur as a result of the FDCPA, 'the FDCPA prohibits the reporting of
           21

           22        false information., and which action constitutes a deceptive act of pfactice.

           23                                      Nevadigsbeceptitm.Tra de Practices Act
           24:              17.     Nevada has similarly adopted and codified the Uniform Deceptive Trade Practices
           25
                     Act, with making its own modifications as passed by the legislature. NRS 597 — 598C, et seq.
           26
           27
           28
                                                                      4
                 Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 8 of 26




                  Specifically, NRS 598.701 - .787 apply to "credit service organizations" and "reporting agencies."

             2    These terms carry the same meaning as the similar federal laws in the FORA. ad FDCPA.

             3            18..   Similar to the FCRA and FDCPA, NRS 598C.160 specifically requires verification of

             4    a claimed debt or reporting entry at the behest of a consumer who has complained of an inaccuracy

                  reported to the credit bureaus. Also in accord with the FCRA and FDCPA, NRS 598C.160 allows
             6
                  for actual damages, punitive damages, costs and reasonable attorney's fees for violation of these

                  provisions.
             8
                         19.     This action seeks compensatory, statutory, and punitive damages, costs and
             9        I
         10       reasonable attorneys' fees for Plaintiff against Defendants for their willful and/or negligent

        11 , -Iviolations of the FCRA, FDCPA and Nevada law, as described herein.
   .7;
  54 12 ,                                            ;FACTUAL ,ALLEGTIONS
a. '4
g>„i,                    20.     Plaintiff repeats and realleges each and every allegation contained in the foregoing
        14       paragraphs as though fully set forth herein.

                         21.     Plaintiff is an adult individual presently residing in Texas, who is a "consumer" as
        16
        17       defined in the FCRA, FDCPA and applicable Nevada statutes.

        18               22.     Defendants are "consumer reporting agencies", "furnishers" or other similar

        19       descriptors, which provide information to businesses and the credit reporting bureaus.
        20               23.     That Plaintiff has been the victim of identity theft, which has resulted in many false
        21
                 reporting to credit reporting agencies, furnishers and other associated parties. These false reportings
        22
                 have been proliferated by the Defendants.
        23
                        24.      Plaintiff has requested that Defendants investigate or reinvestigate entries claiming
        24
        25       that she was evicted from apartments located in Nevada, and/or that she owes money for these

        26       purported breaches of leases, that she in fact never executed.

        27
        28

                                                                 5
           Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 9 of 26
                         480                                                                                             _




                    25.         During this same time, Plaintiff has been a subscriber of Lifelock. Under the terms of

            service with Lifelock, Plaintiff is notified every time a credit application in her name is processed.

            However, Plaintiff never received a notification that her credit was being processed by the apartment

            complexes or companies which are not reporting that she was evicted or owes a debt.
       5           26.          Plaintiff believes that these companies or the underlying creditor failed to properly
    6
            process a credit report inquiry, and have now reported falsely the information that she is an obligor
    7
            to these supposed debts.

                   27.         Notwithstanding these errors and requests for reinvestigation, Defendants continue to
    9
   10       represent in violation of the FCRA, FDCPA and Nevada law that these credit entries are true and

   11      correct, which has damaged the Plaintiffs ability to obtain new credit and negate the disparagement

           to her credit worthiness.

                   28.         As a result of the wrongful actions of the Defendants, Plaintiff has been damaged in

           an amount in excess of $10,000.00.

                   29.         It has become necessary for Plaintiff to engage the services of an attorney to
sg 16
 a 17      commence this action and Plaintiff is, therefore, entitled to reasonable attorney's fees and costs as

  18       damages.

   19                                             RIRST CAUSE OFACT,ION
  20                                                 (Violations of the FCRA)
  21
                   30.         Plaintiff repeats and realleges each and every allegation contained in the foregoing
  22
           paragraphs as though fully set forth herein.
  23
                  31.          Pursuant to the FCRA Defendants are credit reporting agencies ("CPA") and/or
  24
  25       furnishers.

  26              32.          Section 1681n of the FCRA imposes civil liability on any CRA or furnisher "who

  27       willfully fails to comply with any requirement" of the Act. See 15 U.S.C. § 1681n(a).
  28.
                                                               6
         Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 10 of 26




                  33.     Section 16810 of the FCRA provides for civil liability against any CRA or furnisher
     1
     2    which is negligent in failing to comply with any requirement imposed under the Act.

 3                34.    The FCRA mandates that "[w]henever a consumer reporting agency prepares a

     4    consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the
 5        information concerning the individual about whom the report relates." 15           § 1681e(b).

                  35.    On numerous occasions Defendants have prepared patently false consumer reports, or
 7
          assisted in providing false information for insertion on consumer reports, regarding the Plaintiff.
 8
                 36.     On each such instance, Defendants willfully and/or negligently failed to follow
 9                                                                                  I
                                                                                consumer reports it prepared
10 ".reasonable procedures to assure maximum possible accuracy of the
    -„
       and/or published pertaining to Plaintiff, in violation of Section 1681e(b).

                 37.     The FCRA. mandates that a CRA conduct an investigation of the accuracy of

          information "[i]f the completeness or accuracy of any item of information contained in a consumer's

         `file" is disputed by the consumer. See 15 U.S.C. § 1681/(a)(1). The Act imposes a 30-day time

          limitation for the completion of such an investigation. Id.

                 38.     The FCRA provides that if a CRA conducts an investigation of disputed information

          and confirms that the information is, in fact, inaccurate, or is unable to verify the accuracy of the

          disputed. information, the CRA is required to delete that item of information from the consumer's
20        file. See 15 U.S.C. § 16811(a)(5)(A).
21
                 39.     Through Plaintiff's communications with Defendants, Defendants know, or have
22
         sufficient reason to know, that when it prepares and sells a consumer report about Plaintiff, the
23
          information it is circulating is extremely inaccurate and damaging to Plaintiff. Nevertheless,
24
25       Defendants have taken no measures to stop painting a false and damaging picture about Plaintiff.

26
27
28
            Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 11 of 26




                     40.     Plaintiff believes that Defendants either failed to conduct a proper reinvestigation, or
       1.
             that the reinvestigation was so shoddy, as to allow objectively false and highly damaging

       3     information to remain on Plaintiff's credit profile.

    4                41.     Plaintiff remains unable to obtain credit and other 'financing because of the grossly
    5 '• inaccurate credit 'file which contains
                                                this false information.
    6
                42.     Plaintiff has suffered out-of-pocket loss as a result of Defendant's willful and/or
    7
         negligent violations of the FCRA including, without limitation, the premiums Plaintiff must spend

             for a credit monitoring service.
    9
   10                43.     As a direct and proximate result of Defendant's willful and/or negligent refusal to

             follow reasonable procedures to assure "maximum possible accuracy" as specifically mandated by
8v 12
             the FCRA, Plaintiff has suffered loss and damage including, but not limited to: economic loss due to

             denial of mortgage refinancing, loss of opportunity to obtain credit, damage to reputation,

             expenditure of considerable time and out-of-pocket expenses, worry, fear, distress, frustration and

             embarrassment, entitling her to an award of actual damages in amounts to be proved at trial, plus

             attorneys' fees together with the costs of this action pursuant to 15 U.S,C. § 1681o.

  18                                            SECOND CAUSE OF ACTION

  19                                              (Violations of the FDCPA)
  20                44.     Plaintiff repeats and realleges each and every allegation contained -above as though
  21
            fully set forth hereinafter.
  22
                    45.     In connection with the collection of a debt, Defendants, directly or indirectly, have
  23
            used false, deceptive, or misleading representations or means, in violation of Section 807 of the
  24
  25        FDCPA, 15 U.S.C. § 1692e, including, but not limited to, the following:

  26                a.      In numerous instances, Defendants, directly or indirectly, have used false
                            representations concerning the character, amount, or legal status of a debt, in
  27                        violation of Section 807(2)(A) of the FDCPA, 15 U.S.C. § 1692e(2)(A); or
  28

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                         Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 12 of 26

                         :                   -     -




                                     b.      In numerous instances, Defendants, directly or indirectly, have failed to communicate
                                             to the CRA to which it reported a debt that the debt is disputed, in violation of Section
                                             807(8) of the FDCPA, 15 U.S.C. § 1692e(8).

                                     46.    The acts and practices alleged in Paragraph 37 constitute violations of Section 807 of
                    4
                             the FDCPA, 15 U.S.C. § 1692e.
                    5

                    6                47.    As a result of the wrongful actions of the Defendants, Plaintiff has been. damaged in

                    7 , !. an amount in excess of $10,000.00.

                    8                                             THIRD „CAUSE OF: ACTION,

                                                       (tioladon of Nevada of Deceptive Trade Practices)
                  10 5
                         '           48.    Plaintiff repeats and realleges each and every allegation contained in the foregoing
                  1$
                             paragraphs as though fully set forth herein.
           g:7-i 12
     et' 13                         49.     Pursuant to NRS 598.746 credit service organizations or reporting agencies are

                    4        prohibited from reporting false information regarding a person's credit history or wrongfiilly
E-   (.6    41:
                             represent that they are entitled• to collect on a debt which is submitted in error. These violations
                                                              •
            i7    16         constitute deceptive trade practices. NRS 598.787.
            ?I' 17
                                    50.     If these entities fail to abide by these statutes they are liable for damages, costs of
                  18
                             prosecuting the case, injunctive relief and punitive damages. NRS 598.777.
                  19
                                    51.     NRS 598C.160 specifically requires verification of a claimed debt or reporting entry
                  20
                  21         at the behest of a consumer who has complained of an inaccuracy reported to the credit bureaus.

                  22         Similarly, violations of this statute are grounds for damages, costs of prosecuting the case and

                  23         punitive damages. NRS 598C.190.
                  24                52.    As described above, Defendants have engaged in these deceptive trade practices by
                  25
                             asserting debts that are not owed and unlawfully verifying the accuracy of those debts, which are the
                  26 :I:.

                  27 :

                  28
                                                                             9
                   Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 13 of 26




                    actual result of identity theft. Therefore, Plaintiff is permitted to the damages so described in the
               1
           2        referenced statutes and other damages at common law.

           3                                          FOURTH CAUSE OF ACTION

                                                              (Injunctive Relief)

                           53.     Plaintiff repeats and realleges each and every allegation contained in the foregoing
           6
                    paragraphs as though fully set forth herein.
           7
                           54.     Pursuant to NRS 598.777 a buyer or consumer injured by a violation of the Nevada
           8
                    Deceptive Trade Act is entitled to an injunction. As Defendants have violated the mentioned statutes
           9
          10       above, among others, an injunction should issue prohibiting the false reporting of the debts which

          11 = are not the Plaintiff's nor been verified.
          12             . 55.     Plaintiff is also entitled to an injunction on common law principles because she has
          13
TCM LAW




                   been irreparably harmed as monetary damages cannot fully make her whole, she has a strong
          14
                   likelihood of success on the merits, the balance of harms are in her favor, the public is well served

                   by preventing erroneous credit reporting and collection and she is willing to post a bond if necessary.

                           WHEREFORE, Plaintiff prays for judgment against the Defendants as follows:

          18               1.     For compensatory damages in a sum according to proof at trial;

          19               2.     For special damages in a sum according to proof at trial;
          20               3.     For attorney's fees and costs of suit herein;
          21
                           4.     For punitive damages in favor of Plaintiff;
          22
                           5.     For injunctive relief in favor of Plaintiff;
          23
                           6.     For an award of Plaintiffs' attorneys' fees and costs to the full extent allowed by
          24
          25       Nevada law; or in the event of default, not less than $5,000.00 (representing fees and costs incurred

          26       through the entry of default);

          27
          28
                                                                     10
                     Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 14 of 26
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                                                                                          OM...:7   i




                             6.     For an award of pre- and post-judgment interest to the full extent allowed by Nevada

                 2    law;

                             7.     For any and all other damages which may be permitted under the FORA, FDCPA or

                      Nevada law; and

                             8. •   For such other and further relief as this Court deems just and proper.

                             Dated this   .9- ,day of August, 2017.
                                                                           TCM LAW
              8
              9
            10                                                    By:                   rontlios
                                                                               MINA RENTZIOS, ESQ.
      r 11                                                                 WI" Bar Wo. 13747
                                                                           1614 S. Maryland Pkwy.
            12                                                             Las Vegas, NV 89104
                                                                           Attorneys far Plaintiff
•           13


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                  THOMAS C. MICHAELIDES, ESQ.
                  Nevada Bar No.: 5425
                  CONSTANTINA V. RENTZIOS, ESQ,
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                  Las Vegas, NV 89104
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                                                              DISTRICT COURT
                                                      CLARK COUNTY, NEVADA
        9                                                                                      A-17-761658-C
                  JENNA L. CARNEY, an individual;                                   Case No.:
      10                                                                            Dept. No.: Department 2
                                      Plaintiff,
   11i 11.
      12                  vs.

      13       IQ DATA INTERNATIONAL, a Washington
          .• i corporation; SENTRY       RECOVERY &
       14 COLLECTIONS, INC., and; DOES I-X and
'`,.?, 15 ROE CORPORATIONS XI through XX,
               inclusive,
    X16 '                    Defendants.
      17 •
                                INITIAL APPEARANCE FEE DISCLOSURE (NRS CHAPTER 19)
     18
             1H
     19                  Pursuant to NRS Chapter 19, as amended by Senate Bill 106, filing fees are submitted for

     20 !' parties appearing in the above entitled action as indicated below:
     21                  Plaintiff                                                              $270.00
     22                  TOTAL                                                                  $270.00
     23
                         Dated this         t day of September, 2017.
     24
                                                                                TCM LAW
     25
     26 '4                                                           By:         4/C9n§tantina V. Rpp12.ips
                                                                                CONSTANTINA V, RENTZIOS,"FSQ.
     27                                                                         Nevada Bar No. 13747
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        Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 16 of 26


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 5 Attorney for Naafi
     JENNA L
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 8                                      Eighth Judicial District Court
 9                                         Clark County, Nevada
10
        JENNA L CARNEY                                  Case No.: A-17-761858-C
11
                          Plaintiffs,
12                                                      Department II
              vs.
13
                                                        FIRST AMENDED COMPLAINT FOR
14      IQ Data International, a Washington                       DAMAGES
15      Corporation; Sentry Recovery & Collections,
        Inc. a Nevada Corporation; MG Properties
16      Group, a corporation of unknown place of
17      incorporation, d/b/a Sedona Lone Mountain
        Apartments, d/b/a/ Azure Villas II
18      apartments; Fore Property Company, A
19
        Nevada Corporation, d/b/a Glenbrook
        Terrace; Anza Management Company, a
20      California Corporation, Picertine real Estate
21
        group, a privately held corporation of
        unknown state of incorporation d/b/a
22      Pavillions at Providence Apartments, SW
        Landlords, a business entity of unknown
23
        form, The Crossings at Lake Mead, an
24      apartment complex of unknown form or
        identity of ownership, and Does 1 through 11
25
        and Roe corporations 11 through 20,
26      Inclusive.
27
                       Defendants.
28
        Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 17 of 26




 2          Plaintiff Alleges:


               1. . Plaintiff is an individual who has at all times resided outside of Clark County and the
 5                 State of Nevada.
               2. During a period of time beginning in the summer of 2016 until September, 2016
 7                 plaintiff began to learn of adverse reports on her credit report from sources that
 8     t           plaintiff could not recognize, nor determine where or why they were the adverse
 9                 notations were being made.
       4.

10             3. In the course of plaintiff's attempts to determine the source and reasons for the
11                 adverse reports on her credit report, she learned that she had the target of identity
12                 theft in Las Vegas, Nevada.
13             4. Plaintiff learned that the identity theft resulted in an unknown individual using her
14                 social security number and falsified documents to enter into leases for apartments in
15                 Clark County, Nevada.
16             5. Prior to determining the source(s) of the adverse credit report(s), a number of legal
17                 actions for evictions from the apartments leased by the unknown individual posing as
18                 plaintiff had been filed and reduced to adverse judgments of possession in favor of th
19                 property owners and adverse to plaintiff herein.
20            6. Plaintiff retained a credit monitoring service called LIFELOCK shortly after
21                 discovering the unexplained adverse credit reports, in June, 2016.
22            7. The eviction actions and concomitant judgments of possession caused adverse credit
23                 reports to be made on the credit history of plaintiff herein, not the individual who
24                 posed as plaintiff and fraudulently obtained access to apartments via leases using
25 ;               plaintiffs identity.
26            8. Plaintiff herein promptly sought legal representation to initiate the processes necessary.
27                 to reverse the judgments and correct the adverse credit reports caused by invalid leases
28                obtained from the defendant property owners by the unidentified individual who
      Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 18 of 26




            appropriated the plaintiff's identity without consent, permission or valid authorization
 2          of any kind.
        9. In the course of reversing the judgments and adverse credit reports that were
 4          generated by various apartment complexes owned by the defendants, plaintiff learned
 5          that the true identity of the person who posed as plaintiff is in actually a convicted
            felon whose true name is Earnestine McMichael. Her felony conviction is case No.
            C257808 out of the Eighth judicial District Court in Las Vegas, Nevada. The
            judgment of conviction was filed April 12, 2010.
        10. The plaintiff is Caucasian.
10,     11. The individual who presented herself as the plaintiff actually named Earnestine
11          McMichael is African American.
12      12. Plaintiff has never sought or obtained a Nevada Driver's license.
13      13. Defendant MG Properties Group d/b/a Sedona at Lone Mountain Apartments
14          engaged in eviction proceedings throughout 2016 against the plaintiff in the North La
15          Vegas Justice Court. These cases are: 16EN001753, 16EN001468, and 16EN001088.
16      14. Defendant MG Properties Group d/b/a Azure Villas II apartments engaged in
17         eviction proceedings against plaintiff in 2017 in Case No. 17EN000198 in the North
18          Las Vegas Justice Court.
19      15. Defendant Fore Properties d/b/a Glenbrook Terrace Apartments engaged in eviction
20          proceedings against plaintiff in 2016 and continuing into 2017 in North Las Vegas
21          Justice Court case no. 16EN001313.
22      16. The evictions described in Inf's 14 and 15 were prosecuted in the names of apartment
23          complexes with leases that were fraudulently obtained.
24      17. Plaintiff never actually or in fact entered into any leases with the defendants who
25          initiated the evictions described in   's 14 and 15.
26      18. Plaintiff is informed, believes and thereupon alleges that the defendant corporations as
27          described in IlTs 14 and 15 failed to train, supervise or hire persons who were
28          competent to perform a standard background check to ascertain the true and correct
         Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 19 of 26




               identity of the person who in fact sought and obtained access to the various properties
 2             as described in the eviction complaints. in lIT's 14 and 15.
           19. Plaintiff is informed, believes and thereupon alleges that the defendant corporations
 4             identified in IN's 14 and 15 failed to take proper steps to properly ascertain the true
               identity of the person holding herself out to be plaintiff, whether these actions or
               omissions to perform proper verification of identity and credit worthiness was done b
 7             employees, or others retained to perform these tasks.
           20. Defendant Picerne Real Estate Group incorporation d/b/a Pavillions at Providence
               Apartmfnts (Hereinafter PICERNE) leased number of apartments to the individual
10             posing as the plaintiff in Clark county, Nevada.
11         21. Plaintiff is informed, believes and thereupon alleges that the defendant PICERNE
12   ,         failed to train, supervise or hire persons who were competent to perform a standard
13             background check to ascertain the true and correct identity of the person who in fact
14             sought and obtained access to the various properties as in ¶ 20.
15         22. Defendant Picerne Real Estate Group incorporation d/b/a Pavillions at Providence
16            Apartments engaged in a number of evictions related to the properties that were leased
17             to the individual posing as the plaintiff. These are case Nos. 16E007453, 16E013929,
18            16E13003, and 16E15375 in the Las Vegas Nevada justice Court.
19         23. During the course of, or following the conclusion of some or all of the case described
20            in ¶21, PICERNE hired defendant Sentry Recovery & Collections, Inc. (hereinafter
21            SENTRY) to pursue collections for alleged unpaid back rent from plaintiff.
22         24. Had either of defendants PICERNE and/or SENTRY done proper verification of the
23            rental applicant that resulted in the now unpaid rent, these defendants would hav
24            learned that the plaintiff was not the correct party to the lease and concomitantly,
25            never owed them any money.Defendants PICERNE and SENTRY have caused
26            negative entry on the plaintiff's credit history, and continue to maintain this negativ
27            claim as to the plaintiff's credit history despite having been informed of the identi
28
     Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 20 of 26




            theft and the fact plaintiff was never an actual party to any leasing agreement wi
            PICERNE.
       25. Defendant The Crossings at Lake Mead Apartment Complex engaged in an eviction
           related to a property that was leased to the individual posing as the plaintiff. This is
           Case Nos. 16E013929, in the Las Vegas Nevada Justice Court.
       26. Plaintiff is informed, believes and thereupon alleges that the defendant The Crossings
 7         at Lake Mead Apartment Complex failed to train, supervise or hire persons who were ,?
           competent to perform a standard background check to ascertain the true and correct
           identity of the person who in fact sought and obtained access to the various propertie&
10         as in ¶ 25.
11     27. During the course of, or following the conclusion of some or all of the case described
12         in ¶25, defendant The Crossings at Lake Mead Apartment Complex hired defendant •
13         Sentry Recovery & Collections, Inc. (hereinafter SENTRY) to pursue collections for
14         alleged unpaid back rent from plaintiff.
15     28. Had either of defendants The Crossings at Lake Mead Apartment Complex and/•
16         SENTRY done proper verification of the rental applicant that resulted in the not=
17         unpaid rent, these defendants would have learned that the plaintiff was not the corre
18         party to the lease and concomitantly, never owed them any money.Defendants Th.
19         Crossings at Lake Mead Apartment Complex and- SENTRY have caused a negative
20         entry on the plaintiffs credit history, and continue to maintain this negative claim as
21         the plaintiff's credit history despite having been informed of the identity theft and th
22         fact plaintiff was never an actual party to any leasing agreement with The Crossings ai
23         Lake Mead Apartment Complex.
24     29. Defendant Anza Management Company, (hereinafter, ANZA) engaged in an eviction
25         related to a property that was leased to the individual posing as the plaintiff. This is
26         Case Nos. 16E010222, in the Las Vegas Nevada Justice Court
27     30. Plaintiff is informed, believes and thereupon alleges that the defendant The Crossings
28        at Lake Mead Apartment Complex failed to train, supervise or hire persons who were
           Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 21 of 26


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                 competent to perform a standard background check to ascertain the true and correct
                 identity of the person who in fact sought and obtained access to the various properties
                 as in 30.
             31. Had defendant ANZA done proper verification of the rental applicant that resulted i
 5               the now unpaid rent, these defendants would have learned that the plaintiff was no
 6               the correct party to the lease and concomitantly, never had any basis to seek
 7 •             judgment of possession, nor cause plaintiff to obtain counsel and pursue reversal o
 8               the adverse judgment.
             32. Defendant SW Landlords) engaged in a number of evictions related to the properties
10 ,1            that were leased to the individual posing as the plaintiff. These are case Nos.
11               16E018002, 16E020556, and 16E12237 in the Las Vegas Nevada Justice Court.
12           33. During the course of, or following the conclusion of some or all of the case described
13               in ¶32, defendant SW Landl.ord(s) hired defendant IQ Data International (hereinafter
19               IQ DATA) to pursue collections for alleged unpaid back rent from plaintiff.
15           34. Had either of defendants SW Landlord(s)and/or IQ DATA done proper verificado
16               of the rental applicant that resulted in the now unpaid rent, these defendants woul
17              have learned that the plaintiff was not the correct party to the lease and concomitantly
18     •        never owed them any money. Defendants SW Landlord(s) and IQ DATA have cause
19              a negative entry on the plaintiffs credit history, and continue to maintain this negativ
20              claim as to the plaintiffs credit history despite having been informed of the identi
21              theft and the fact plaintiff was never an actual party to any leasing agreement with S'X
22              Landlord(s).
23 ,         35. Defendant Does 1 through 10, inclusive, and Defendant Roes Corporations 11
24              through 20 are sued fictitiously at this time because either their identity, whether
25              corporate, individual, or an association, or the basis for their liability, of both, is
26              unknown at this time. Plaintiff shall seek leave to amend this complaint to set forth
27              the identity and basis for any 'and all Doe defendants upon discovery of their identity
28


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      Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 22 of 26




      or basis for liability, to set forth their true and correct name and conduct giving rise to liability
      in place and instead of their present Doe identity.
 3:

 4                                           First Cause of Action
 5                                 Violation of the Fair Credit Reporting Act


 7       36. Plaintiff realleges and incorporates Ill's 1-35 as though fully set forth herein.
         37. Plaintiff is a protected individual within the meaning of the Fair Credit Reporting Act.
         38. Defendants, and each of them, violated the plaintiff's rights under the Fair Credit •
10           Reporting Act when they failed to properly determine the true identity of the
11           individual to whom they provided access to their respective properties via a leasehold
12           agreement and then engaging in litigation to evict the fraudulent tenant from their
13           properties, and in the process incorrectly, improperly and unlawfully named the
14           plaintiff as a defendant in their eviction actions.
15       39. Defendant collections companies violate and continue to violate the Fair Credit
16           Reporting Act by continuing to maintain false and incorrect negative entries in the
17           plaintiff's credit history.
18       40. Defendants' actions described herein have caused damages $15,000.00 to the plaintiff.
19

20                                         Second Cause of Action
21                            Violation of the Fair Debt Collections Practices Act
22

23       41. Plaintiff realleges and incorporates      1-40 as though fully set forth herein.
24       42. Plaintiff is a. protected individual within the meaning of the Fair Debt Collections
25           Practices Act.
26       43. Defendants, and each of them, violated the plaintiff's rights under the Fair Debt
27           Collections Practices Act when they failed to properly determine the true identity of
28           the individual to whom they provided access to their respective properties via a
        Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 23 of 26




 1             leasehold agreement and then engaging in litigation to evict the fraudulent tenant from
 2             their properties, and in the process incorrectly, improperly and unlawfully named the
               plaintiff as a defendant in their eviction actions.
          44. Defendant collections companies violate and continue to violate the Fair Debt
              Collections Practices Act by continuing to maintain false and incorrect negative entries,'
 6            in the plaintiff's credit history.
 7 :      45. Defendants' actions described herein have caused damages $15,000.00 to the plaintiff.:
 8:

 9                                            Third Cause of Action
10                         Violation of the Nevada Deceptive Trade Practices laws
11        46. Plaintiff realleges and incorporates TVs 1-45 as though fully set forth herein.
12        47. Defendants actions as set forth supra, violated and continue to violate the plaintiff's
13            rights under the relevant statutes, N.R.S. § 598.746 et seq.
14        48. Defendants' actions described herein have caused damages in excess of $15,000.00 to
              the plaintiff.
16

17 11                                        Fourth Cause of Action
18                                                 Negligence
19

20        49. Plaintiff realleges and incorporates      1-48 as though fully set forth herein.
21        50. Defendants and each of them owed plaintiff a duty of care to properly, professionally
22            and correctly perform those tasks necessary to determine the true identity of all
23            prospective tenants.
24        51. Defendant collection agencies owed a duty of care to promptly investigate and correct:
25            any incorrect entries on the plaintiff's credit history that they or their clients may have
26            placed or casued to be placed on the plaintiffs credit history.
27        52. Defendants, and each of them, breached their respective duties to plaintiff by failing to
              properly verify the potential tenant's identity correctly and/or failing to correct
         Case 2:18-cv-00195-GMN-PAL Document 1-1 Filed 02/02/18 Page 24 of 26




                 incorrect and erroneous entries on the plaintiff's credit history due their error of their
     2           client's error(s)
             53. Defendants conduct as described in the complaint has injured the plaintiff financially
     4           and otherwise.
             54. Plaintiff has suffered damages in excess of $15,000.00 as a result of the defendants'
                 conduct. .


 8       'Wherefore, Plaintiffs pray for judgment as follows:
 9

10              1. Special damages according to proof at time of trial;
11.             2. General damages according to proof at time of trial;
12              3. Punitive damages according to proof at time of trial and as permitted by law;
13              4. Injunctive relief as necessary to remove all adverse information on plaintiffs credit
14                 report(s) due to the consequences of the identity theft which victimized plaintiff;
15              5. All costs and fees associated with this litigation as allowed by law;
16              6. All such other relief as this Court may deem fitting and proper.
17

         Dated: November 7, 2017
19                                                       Respectfully submitted,
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21                                                        Thomas C. Michaelides # 5425
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23

24                                                       Attorney for plaintiff:
                                                         Jenna L. Carney
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                                                           CLARK COUNTY, NEVADA                       7 .

        8   JENNA L. CARNEY                                                    Case No.: A441,761858-0
                •
                         Plaintiffs,                                                              :If
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       10       vs
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                               IQ Data International, a WashingtOna,
                        Corporation; Sentry Recovery & Collections,
                        Inc. a Nevada Corporation; MG Properties-.
                        Group, a corporation of unknown place of
                        incorporation, d/b/a Sedona LOne Mountain                                                        • .,




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                        Nevada Corporation, d/b/a Glenbrook
                        Terrace;'Anza ManageMent Compaq', a
                        California Corporation, Picernne real Estate
                        group; a privately held corporation of                                                          „ 1 #;...
                        unknown state of incorporation d/b/a                                                                   -•


                        Tavillic;14,at Providence ApartmentS,SW,
                        Landlords; a btisiness entity'Of urili4kVn                   •


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                        apartment complex of unlmownform or
F-A                     identity of ownership, and Does 1. through .10 ,
                        al Ue corporations 11 through.
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